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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
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    3   555 S. Flower St., 33rd Floor
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               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9                               UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
  10
                                          LOS ANGELES DIVISION
  11

  12
            In re:                                            Case No. 2:19-bk-14989-WB
  13        SCOOBEEZ, et al. 1                                Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14                Debtors and Debtors in Possession.
                                                              Chapter 11
  15

  16        Affects:
            ■ All Debtors                                     THIRD STIPULATION REGARDING
  17        □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
                                                              COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  18        □ Scoobur LLC, ONLY
  19

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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1 TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE; THE
      OFFICE OF THE UNITED STATES TRUSTEE; HILLAIR CAPITAL MANAGEMENT, LLC;
    2 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS; AND ALL INTERESTED
      PARTIES AND/OR THEIR COUNSEL OF RECORD:
    3

    4              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession

    5   (collectively the “Debtors”) in the above-captioned jointly administered chapter 11 bankruptcy cases

    6   (the “Chapter 11 Cases”), the Official Committee of Unsecured Creditors (the “Committee”) and Hillair

    7   Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital

    8   Investments LP (collectively, “Hillair”), enter into this stipulation (the “Third Stipulation”) regarding

    9   continued use of cash collateral as follows:
                                                         RECITALS
  10
                   A.     On May 1, 2019, the Debtors filed the Debtors’ Emergency Motion for Entry of Interim
  11
        Order Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Cash Collateral
  12
        Motion”).
  13
                   B.     The Debtors are currently using cash collateral with the consent of Hillair, and pursuant
  14
        to this Court’s prior orders approving use of cash collateral.
  15
                   C.     On June 6, 2019, the Debtors and Hillair entered into the Second Stipulation for (1)
  16
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  17
        132] (the “Second Stipulation”) [Docket. No. 132], which was approved by the Court’s order entered on
  18
        June 7, 2019 [Docket No. 135]. The Second Stipulation provided for continued use of cash collateral
  19
        through June 28, 2019, subject to the terms and conditions provided therein.
  20
                   D.     On July 3, 2019, the Court entered the agreed Order Granting Continued Use of Cash
  21
        Collateral Pursuant to That Certain Second Stipulation for (1) Authorization to Use Cash Collateral; and
  22
        (2) Appointment of Chief Restructuring Officer [Docket No. 172], extending the Debtors’ use of cash
  23
        collateral through September 6, 2019.
  24
                   E.     On September 19, 2019, the Court entered the agreed Order Granting Continued Use of
  25
        Cash Collateral Through December 6, 2019 Pursuant to That Certain Second Stipulation for (1)
  26
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  27
        328] (the “Continued Order”). The Continued Order extended the Debtors’ authorization for use of
  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
                                                           -1-                        Case No. 2:19-bk-14989-WB
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    1   cash collateral through December 6, 2019, subject to the terms of the Second Stipulation as modified by
    2 the Continued Order, and pursuant to the budget attached to the Continued Order. The Continued Order

    3 also set a continued hearing on the Cash Collateral Motion for December 5, 2019 at 10:00 a.m. (the

    4   “Continued Hearing”). The period covered by the current budget attached to the Continued Order is
    5   through December 6, 2019.
    6              F.     The Debtors have prepared a new 13-week budget that covers the period through March
    7   6, 2020 (the “Budget”), a copy of which is attached hereto as Exhibit A. The Budget has been approved
    8   by the Debtors’ secured creditor Hillair Capital Management LLC (“Hillair”) and the Official
    9   Committee of Unsecured Creditors (the “Committee”).
  10               G.     The Debtors, Hillair and the Committee agree to the terms of this Third Stipulation.
  11
                                                        STIPULATION
  12

  13
             1. The Debtors, Hillair and the Committee agree to the continued use of cash collateral, pursuant to
  14
                   the terms of the Second Stipulation, subject to the new Budget, through March 6, 2020.
  15
                   Specifically, the budget approved pursuant to the Continued Order is superseded by the Budget
  16
                   attached hereto, and the “Termination Date” as defined in paragraph 14.1(a) in the Second
  17
                   Stipulation is modified to March 6, 2020.
  18
             2. Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events of
  19
                   default:
  20
                          (k)     The composition of the Board of Directors of any of the Debtors is altered or any
  21
                   previous action to alter the composition of any such Board is determined to be valid such that
  22
                   Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  23
                          (l)     The Debtors’ agreements with Amazon are terminated or Amazon is given relief
  24
                   from the automatic stay to effectuate its termination rights.
  25
                          (m)     Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any
  26
                   other third-party and Hillair does not consent to such plan.
  27

  28
                                                                                       DEBTORS’ THIRD STIPULATION
                                                                      REGARDING CONTINUED USE OF CASH COLLATERAL
                                                            -2-                       Case No. 2:19-bk-14989-WB
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    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9

  10
                                                          /s/ Ashley M. McDow
  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16

  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CREDITORS:
  18

  19
                                                           David L. Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

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                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
                                                           -3-                      Case No. 2:19-bk-14989-WB
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        Case 2:19-bk-14989-WB            Doc 486 Filed 12/06/19 Entered 12/06/19 17:01:03            Desc
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    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9

  10

  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16
  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CRREDITORS:
                                                                      CREDITORS:
  18

  19
                                                           Daviid L.
                                                           David  L Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

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                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
                                                           -3-                      Case No. 2:19-bk-14989-WB
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                          Exhibit A
Scoobeez, et al.                             Case 2:19-bk-14989-WB                               Doc 486 Filed 12/06/19 Entered 12/06/19 17:01:03                                                       Desc
Cash Forecast through 3/6/2020                                                                    Main Document    Page 8 of 14
                   Forecast Week No.               1             2             3             4              5             6             7             8             9            10            11            12           13
                                            Forecast      Forecast      Forecast      Forecast       Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                        Week Ended       12/13/2019    12/20/2019    12/27/2019      1/3/2020      1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
   Invoiced                                 800,000       800,000       800,000      775,000         775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
   Routes
Total Invoices                              800,000      800,000       800,000       775,000        775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000

Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077      1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702

Collections                                 800,000      800,000       800,000       800,000        800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%

Cash Disbursements:
  Fuel                                       56,000       56,000        56,000        55,000         55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
  Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000         10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
  Executive Compensation                        -         32,500           -          32,500            -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
  Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375        109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
  Vehicle - Accidents/Tolls/Citations           -            750           -             750            -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
  Worker's Compensation                       7,000       86,022         7,000        86,022          7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
  Rent & Utilities                              -            -             -          20,500            -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
  Insurance                                  41,276          -             -          75,227            -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
  Phones & Service                           13,000          -          13,000           -           13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
  Travel                                     12,000          -             -             -           12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
  IT Expenses                                   -         12,200           -             -            5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
  Dues & Subscriptions                       18,500          500           500           500            500        18,500           500           500           500           500           500           500           500           42,500          0.4%
  DBB Tax Preparation Fee                       -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
  Car Wash                                      -            -           2,000           -              -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
  Other Expenses                             10,000       10,000        10,000        10,000         10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874       221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%

Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)       578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%

Financing Cash Flows
   Debt Principal                               -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
   Debt Interest                             40,000       40,000        40,000        40,000         40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
   Bank Fees                                    150          150           150           150            150           150           150           150           150           150           150           150           150            1,950          0.0%
Financing Cash Flows                         40,150       40,150        40,150        40,150         40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%

Restructuring Cash Flows
  Debtor Counsel                                -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Debtor CRO                                    -         40,000            -             -             -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
  Debtor Advisor                                -            -              -             -             -              -            -              -             -             -            -              -            -                -            0.0%
  Board of Directors (2 Individuals)            -          5,000            -             -             -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
  Secured Lender Counsel                        -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Committee Counsel                             -         12,500            -             -             -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
  Special Counsel (Hillair)                 100,000          -              -             -             -              -            -              -             -             -            -              -            -            100,000          1.0%
  Special Counsel (Debtor)                   20,000          -              -             -             -              -            -              -             -             -            -              -            -             20,000          0.2%
  US Trustee Fees                               -            -              -             -         110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Restructuring Cash Flows                    120,000      157,500            -             -         110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%

Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)       427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%

Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689


Collateral Package
  Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
  AR                                       3,180,000    3,180,000     3,180,000     3,160,000      3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
  Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172      1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
  Fixed Assets                               868,687      868,687       868,687       868,687        868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
  Other Assets                                62,668       62,668        62,668        62,668         62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580      7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500     11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500
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                           Exhibit B
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        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
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               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                             Case No. 2:19-bk-14989-WB
  13        In re:                                           Jointly Administered:
                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al. 1
                                                             Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                         ORDER GRANTING CONTINUED USE OF
  17                                                         CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                    6, 2020, PURSUANT TO THAT CERTAIN
  18                                                         THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                 CONTINUED USE OF CASH
  19                                                         COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
  21

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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [___]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
  27    for the use of cash collateral for the payment of any insider of the Debtor or any management person or
  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the


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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
  24               7.     Supplemental responses in opposition to the motion and continued use of cash collateral
  25    shall be filed and served by no later than February 27, 2020.
  26                                                          # # #
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                                                             -2-                      Case No. 2:19-bk-14989-WB
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                                             PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

A true and correct copy of the foregoing document entitled (specify): THIRD STIPULATION REGARDING
CONTINUED USE OF CASH COLLATERAL will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) December 6, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:



                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 6, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012




                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.


                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  12/6/2019                      Karla P. Hernandez                                       /s/ Karla P. Hernandez
  Date                           Printed Name                                             Signature




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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1.         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
          John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
          Riebert Sterling Henderson shenderson@gibbsgiden.com
          Vivian Ho BKClaimConfirmation@ftb.ca.gov
          Alvin Mar alvin.mar@usdoj.gov
          Ashley M McDow amcdow@foley.com,
           sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
          Stacey A Miller smiller@tharpe-howell.com
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          Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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